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AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

Civil Action No. 6:24-CV-1903-ACC-EJK

PROOF OF SERVICE
(This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (I))

This summons for Character Technologies, Inc.
was recieved by me on 10/29/2024:

lt | personally served the summons on the individual at (place) on (date) ; or

lt | left the summons at the individual’s residence or usual place of abode with (name) , a person of suitable age and
discretion who resides there, on , and mailed a copy to the individual's last known address; or

xT | served the summons on jose reception, who is designated by law to accept service of process on behalf of Character
Technologies, Inc. at 1600 Amphitheatre Pkwy, Mountain View, CA 94043 on 10/29/2024 at 4:26 PM; or

lt | returned the summons unexecuted because ; or

lt Other (specify)

My fees are $ 0 for travel and $ 75.00 for services, for a total of $ 75.00.

| declare under penalty of perjury that this information is true.

Date:

Server's signature

Howard Hill

Printed name and title

1669 Hollenback ave
Sunnyvale, CA 94087

Server's address

Additional information regarding attempted service, etc:

| delivered the documents, INITIAL CASE ORDER; NOTICE OF PENDENCY OF OTHER ACTIONS; NOTICE, CONSENT,
AND REFERENCE OF A CIVIL ACTION TO A MAGISTRATE JUDGE; CIVIL CASE COVER SHEET; ORDER ON
DISCOVERY MOTIONS, to jose reception who identified themselves as the person authorized to accept with identity
confirmed by subject stating their name. The individual accepted service with direct delivery. The individual appeared
to be a brown-haired Hispanic male contact 25-35 years of age, 5'10"-6'0" tall and weighing 140-160 Ibs.

| | (ill

